UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                                 Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                    Chapter: 11

                    Debtor.


                                  NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Order entered July 9,

2020 [Docket No. 442] Nunc Pro Tunc to February 28, 2020, Connors LLP has filed

the Monthly Fee Statement of Connors LLP for Compensation for Services

Rendered and Reimbursement of Expenses as Special Counsel to The Diocese of

Buffalo, N.Y., for the Period February 1, 2021 – February 28, 2021, a copy of which

is attached hereto and hereby served upon you.


DATED:        Buffalo, New York
              April 19, 2021


                                             s/ Randall D. White
                                             Randall D. White, Esq.
                                             CONNORS LLP
                                             Special Counsel for Debtor
                                             The Diocese of Buffalo, N.Y.
                                             1000 Liberty Building
                                             Buffalo, New York 14202
                                             (716) 852-5533




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                               Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                  Chapter: 11

                     Debtor.


             MONTHLY FEE STATEMENT OF CONNORS LLP
          FOR COMPENSATION FOR SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO
                   THE DIOCESE OF BUFFALO, N.Y.
     FOR THE PERIOD FEBRUARY 1, 2021 THROUGH FEBRUARY 28, 2021

Name of Applicant:                         Connors LLP

Authorized to Provide                      The Diocese of Buffalo, N.Y.,
Professional Services to:                  Debtor-in-Possession

Date of Retention:                         Order entered July 9, 2020 [Docket No.
                                           442] Nunc Pro Tunc to February 28,
                                           2020

Period for which compensation              February 1, 2021 – February 28, 2021
and reimbursement is sought:

Amount of compensation sought              80% of $90,280.00 ($72,224.00)
as actual, reasonable, and
necessary:

Amount of expense                          $5,463.79
reimbursement sought as actual,
reasonable, and necessary:


This is a:    X monthly ___ quarterly ___ final application.

This is the          monthly fee statement of Connors LLP in this case.




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                                     CONNORS LLP
                                    1000 Liberty Building
                                     Buffalo, NY 14202
                                   TAX ID NO. XX-XXXXXXX

                                          April 16, 2021

                                                              Invoice#     35396            TMC
DIOCESE OF BUFFALO                                            Our file#      002700        00006
795 Main Street                                               Billing through         02/28/2021
Buffalo, NY 14203

MISCELLANEOUS MATTERS
PROFESSIONAL SERVICES

02/02/2021   LFQ    (Misc) Work on implementing            5.50 hrs.       250 /hr    1,375.00
                   instructions from Chancery
                   representatives regarding
                   changes to policy and procedures
                   for Charter Case (3.1);
                   communications regarding same
                   (.5); review new filings of abuse
                   claims (.5); telephone conference
                   with Independent Diocesan
                   Review Board Chairman
                   regarding claim against recently
                   deceased priest (.3); telephone
                   conference with bankruptcy
                   attorneys regarding same (.2);
                   work on including new cases in
                   batches to be sent to District
                   Attorneys (.5); communications
                   with Chancery regarding
                   potential policy changes (.4).
02/04/2021   LFQ    (Misc) Telephone conference            4.80 hrs.       250 /hr    1,200.00
                   with investigators regarding
                   completion of investigation (.5);
                   review file materials regarding
                   claims of abuse and work on
                   communications to Chancery
                   regarding past claim of abuse
                   (4.3).
02/05/2021   LFQ    (Misc) Communications with             2.40 hrs.       250 /hr      600.00
                   Chancery regarding investigation
                   report and sending cases to
                   Rome (.6); work on response to
                   inquiry regarding priest (.6);
                   review file regarding outstanding
                   complaint that needs to be

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                 forwarded to Independent
                 Diocesan Review Board and
                 prepare memorandum regarding
                 same (1.2).
02/08/2021   LFQ (Misc) Work on responses to           1.50 hrs.        250 /hr       375.00
                 subpoena and proposed
                 confidentiality order and
                 communications with attorney
                 regarding same. (1.1); work on
                 memorandum regarding
                 victim-survivor with claim
                 against diocese (.4).
02/10/2021   LFQ (Misc) Obtain and review              3.80 hrs.        250 /hr       950.00
                 policies of out-of-state dioceses
                 and study different methods for
                 disclosure of documents.
02/11/2021   LFQ (Misc) Review allegations of          1.20 hrs.        250 /hr       300.00
                 anonymous complaint and
                 communications with Chancery
                 representative and Independent
                 Diocesan Review Board
                 Chairman regarding same to
                 determine appropriate response.
02/11/2021   TMC (Misc) Receipt and review of an       0.20 hrs.        250 /hr        50.00
                 additional anonymous complaint
                 against a priest of the Diocese;
                 report to authorities and confer
                 with Chancellery senior staff.
02/12/2021   LFQ (Misc) Work on processing             3.10 hrs.        250 /hr       775.00
                 complaints (1.4); telephone
                 conference with Independent
                 Diocesan Review Board
                 Chairman regarding investigator
                 (.5); communications with an
                 attorney for Franciscan Province
                 and review file to prepare
                 response for same (1.2).
02/13/2021   LFQ (Misc) Communications                 0.30 hrs.        250 /hr        75.00
                 regarding priests appearing in
                 national media.
02/16/2021   LFQ (Misc) Telephone conference           1.20 hrs.        250 /hr       300.00
                 with Independent Diocesan
                 Review Board Chairman
                 regarding intake process (.1);
                 telephone conference with




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                     Chancery representative about
                     sending cases to the
                     Congregation for the Doctrine of
                     the Faith (.4); telephone
                     conference with Chancery
                     representative regarding audit
                     (.3); review investigative report
                     (.4).
02/17/2021   LFQ      (Misc) Communications with           0.30 hrs.        250 /hr        75.00
                     District Attorney's office
                     regarding new report of abuse.
02/22/2021   LFQ      (Misc) Review communications         0.90 hrs.        250 /hr       225.00
                     and memoranda sent by
                     Chancery representatives
                     regarding investigation of claim
                     and abuse.
02/23/2021   LFQ      (Misc) Work on reviewing             1.00 hrs.        250 /hr       250.00
                     whistleblower policy to reflect
                     input of several Chancery
                     representatives (.7);
                     communications regarding
                     changes in whistleblower policy
                     (.3).
02/26/2021   LFQ      (Misc) Work on complaint             1.10 hrs.        250 /hr       275.00
                     manager policy.
02/27/2021   LFQ      (Misc) Telephone conference          1.80 hrs.        250 /hr       450.00
                     with Chancery representative
                     regarding monitoring of priests
                     (1.0); work on responding to
                     request for information from
                     Chancery representative about
                     prior claim (.8).

                   Total fees for this matter                                           $7,275.00




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DISBURSEMENTS

02/28/2021   POSTAGE                                                                    6.80
02/28/2021   COURIER SERVICE                                                           75.00

                     Total disbursements for this matter                           $81.80

BILLING SUMMARY
              TOTAL FEES                                                         $7,275.00
              TOTAL DISBURSEMENTS                                                  $81.80
              TOTAL CHARGES FOR THIS BILL                                        $7,356.80




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                                    1000 Liberty Building
                                     Buffalo, NY 14202
                                   TAX ID NO. XX-XXXXXXX

                                          April 16, 2021

                                                              Invoice#     35397            TMC
DIOCESE OF BUFFALO                                            Our file#      002700        00040
795 Main Street                                               Billing through         02/28/2021
Buffalo, NY 14203
NYSAG SUBPOENA

PROFESSIONAL SERVICES

02/01/2021   TMC   Providing historical background         2.60 hrs.       250 /hr      650.00
                   to assist Jones, Day with respect
                   to the negotiations with the
                   Office of the Attorney General
                   (1.1); confer with members of
                   the executive team at the
                   Diocese regarding the issues
                   raised by the litigation and the
                   status of the removal to the
                   Southern District of New York
                   (.8); confer with our team
                   regarding the litigation deadlines
                   and the impact of the Attorney
                   General proposal with respect to
                   extension of the deadlines and
                   negotiations (.7).
02/02/2021   TMC   Reviewing changes and updates           2.60 hrs.       250 /hr      650.00
                   in our policies and procedures to
                   respond to inquiries by the New
                   York State Attorney General
                   (.8); reviewing changes and
                   updates in our policies and
                   procedures with respect to the
                   Review Board after conferring
                   with Lawlor F. Quinlan III (.4);
                   reviewing documents to respond
                   to the requests for production by
                   the Attorney General (.3); confer
                   with Lawlor F. Quinlan III
                   regarding his effort to respond to
                   the prayers for relief to
                   demonstrate our compliance
                   (1.1).
02/03/2021   TMC   Preparation for and participation       3.70 hrs.       250 /hr      925.00

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                       in call with team to respond to
                       the requests and settlement
                       overtures (.9); reviewing
                       proposed revisions to policy
                       documents, including
                       whistleblower policy and
                       Independent Review Board (.4);
                       reviewing possible changes with
                       respect to monitoring of credibly
                       accused priests (.4); call with
                       Jones, Day team and attorney
                       Vacco regarding settlement
                       discussions (.8); report to
                       Diocese executive team (.4);
                       follow-up call with Jones, Day
                       and our team regarding
                       preliminary issues raised by the
                       Attorney General with respect to
                       settlement and the procedural
                       issues with the coordination of
                       the bankruptcy matter (.8).
02/04/2021    TMC      Preparation for and participation      2.10 hrs.        250 /hr       525.00
                       in a conference call with the
                       attorneys for each Diocese
                       within the State (1.1); reviewing
                       draft letter from the attorney for
                       other diocese (.3); confer with
                       our team at Jones, Day regarding
                       the advance waiver issues (.3);
                       conferring with the Diocese
                       regarding recouping defense
                       costs from insurance carriers
                       (.2); preparing response to
                       inquiry and copy to insurance
                       coverage counsel (.2).
02/05/2021    LFQ      Research regarding                     2.90 hrs.        250 /hr       725.00
                       Not-for-Profit Corporation's Law
                       issues raised by Attorney
                       General, including provision
                       regarding whistleblower policy
                       (1.0); review two Diocesan
                       policy whistleblower policies
                       and draft proposed changes to
                       same (1.9).
02/05/2021    TMC      Conferring with our team               1.20 hrs.        250 /hr       300.00
                       regarding preparation for our
                       conference with the Attorney
                       General (.6); reviewing the key


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                       points for discussion requested
                       by the Attorney General (.4);
                       report to the Diocese (.2).
02/06/2021    LFQ      Review memoranda from                   3.10 hrs.        250 /hr       775.00
                       Terrence M. Connors regarding
                       strategy and conversations with
                       attorneys (.5); review
                       memorandum regarding
                       settlement (.8); work on possible
                       changes to the diocesan
                       policies(1.8).
02/06/2021    TMC      Reviewing our proposed changes          0.80 hrs.        250 /hr       200.00
                       to respond to the issues raised by
                       the Attorney General and
                       preparing a summary of efforts
                       made over the years to comply
                       with the Charter.
02/07/2021    RDW      Emails and preparation of               0.50 hrs.        250 /hr       125.00
                       possible discussion points.
02/07/2021    TMC      Reviewing the Jones, Day                0.30 hrs.        250 /hr        75.00
                       declaration for factual accuracy
                       and providing them with
                       additional background
                       information.
02/08/2021    LFQ      Prepare memoranda regarding             1.90 hrs.        250 /hr       475.00
                       proposed changes to diocesan
                       policies to respond to Attorney
                       General's concerns (1.1);
                       communications regarding same
                       (.8).
02/08/2021    TMC      Assisting with the updating of          1.90 hrs.        250 /hr       475.00
                       our policies (.4); reviewing,
                       revising, and updating the
                       whistleblower policies to comply
                       with amendments to the
                       not-for-profit corporation law
                       (.3); email with Don Blowey
                       regarding any updates to the safe
                       environment policy (.1);
                       conferring with Lawlor F.
                       Quinlan III regarding changes to
                       the Independent Review Board
                       and the initial investigation (.3);
                       working with Sr. Mary
                       McCarrick and Sr. Regina
                       Murphy regarding the
                       monitoring programs and


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                       reviewing policies from other
                       Dioceses (.3); conferring with
                       our team regarding the issues to
                       be discussed with the Attorney
                       General as to settlement and
                       email correspondence regarding
                       same (.3); reviewing objections
                       to the retention of Jones, Day
                       and Lippes, Mathias (.2).
02/09/2021    TMC      Conferring with our team               0.80 hrs.        250 /hr       200.00
                       regarding the recent
                       developments in litigation,
                       including the recusal of Judge
                       Crotty, briefing schedule,
                       stipulations with Attorney
                       General counsel regarding the
                       statutory deadlines that are
                       involved, and email
                       correspondence regarding
                       judicial assignment.
02/10/2021    TMC      Preparation for and participation      1.10 hrs.        250 /hr       275.00
                       in conference call with our entire
                       team to discuss the next steps,
                       procedural issues, strategy, and
                       historical information for Jones,
                       Day.
02/11/2021    TMC      Preparation for and participation      1.60 hrs.        250 /hr       400.00
                       in conference call with the
                       attorney from each Diocese in
                       the State of New York to discuss
                       current issues with respect to the
                       Office of Attorney General
                       investigation/litigation (.9);
                       email correspondence with
                       Diocese regarding the necessary
                       documents for production to the
                       office of the Attorney General
                       (.7).
02/12/2021    RDW      Emails regarding recent                0.60 hrs.        250 /hr       150.00
                       developments, status and
                       strategy.
02/12/2021    TMC      Extensive email correspondence         1.80 hrs.        250 /hr       450.00
                       with our client and the team
                       regarding coordination of a
                       number of issues that have
                       arisen, as well as coordination
                       with the bankruptcy production



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                       (.9); discussion with the Jones,
                       Day team regarding motion
                       schedule, settlement meeting and
                       the historical data needed for that
                       meeting (.9).
02/13/2021    LFQ      Work on memorandum                      4.90 hrs.        250 /hr      1,225.00
                       analyzing specific priests
                       addressed in Attorney General's
                       complaint.
02/13/2021    TMC      Conferring with Jones, Day              0.30 hrs.        250 /hr        75.00
                       regarding their need for
                       historical information with
                       respect to correspondence with
                       the Office of Attorney General.
02/14/2021    LFQ      Work on memorandum                      8.50 hrs.        250 /hr      2,125.00
                       regarding response to lawsuit
                       (3.8); work on memorandum for
                       meeting with New York State
                       Attorney General showing this
                       diocese's compliance with
                       requirements of the Charter and
                       Essential Norms (4.3);
                       communications with Chancery
                       representatives regarding same
                       (.4).
02/14/2021    TMC      Confer with coverage counsel            0.20 hrs.        250 /hr        50.00
                       regarding the coverage position
                       taken with respect to the claim
                       against the Diocese.
02/15/2021    TMC      Further work updating the               1.70 hrs.        250 /hr       425.00
                       policies and procedures,
                       including a new whistleblower
                       policy (.4); assisting with
                       updates of other policies,
                       including the code of conduct
                       and conferring with Diocese (.3);
                       working through the coverage
                       issues with Diocese and our
                       coverage counsel to respond to
                       inquiries from the insurance
                       carrier TNCRRG (.7); confer
                       with Jones, Day regarding the
                       coverage issues for response to
                       the Office of Attorney General
                       (.3).
02/16/2021    TMC      Reviewing coverage position of          1.20 hrs.        250 /hr       300.00
                       one of the carriers and conferring


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                       with Diocese regarding our next
                       steps (.2); reviewing statement of
                       the insurance carrier with respect
                       to Bishops Malone and Grosz
                       (.3); discussion among team
                       regarding the options available to
                       challenge or to press forward
                       with the coverage (.7).
02/17/2021    LFQ      Communications with Chancery           8.50 hrs.        250 /hr      2,125.00
                       representatives to obtain
                       information necessary for
                       presentation for the New York
                       State Attorney General (.9);
                       work on presentation (7.6).
02/17/2021    TMC      Preparation for and participation      6.00 hrs.        250 /hr      1,500.00
                       in lengthy conference with team
                       to provide historical perspective
                       to certain inquiries that have
                       been posed by the Office of
                       Attorney General (1.3);
                       follow-up calls with Diocese
                       regarding additional data and
                       information that we will need
                       from the Diocese to comply with
                       these requests and to provide
                       Jones, Day with historical
                       information on these topics (.8);
                       confer with Lawlor F. Quinlan
                       III regarding a presentation for
                       the Attorney General responding
                       to all of the issues and their
                       various prayers for relief (1.6);
                       further work updating our
                       policies and procedures and
                       drafting new procedures with
                       respect to the DRB and the
                       process of monitoring the priests
                       would have been credibly
                       accused of abuse (.8); providing
                       input to our team for
                       presentation (.7); email
                       correspondence with Jones, Day
                       regarding the new schedule for
                       remand motion and our
                       opposition (.8).
02/18/2021    LFQ      Work on presentation for               5.60 hrs.        250 /hr      1,400.00
                       meeting with the Attorney
                       General's Office (3.4); work on


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                       whistleblower policy to bring it
                       up-to-date as requested by
                       Attorney General (1.3); review
                       old audit reports to explain
                       process to Attorney General's
                       office (.9).
02/18/2021    TMC      Preparation for and participation       4.10 hrs.        250 /hr      1,025.00
                       in conference call with the
                       representatives of each NYS
                       Diocese (.6); continue discussion
                       with representatives at the
                       Chancery regarding our
                       obligation to report priests to the
                       Congregation for the Doctrine of
                       Faith and the nature and content
                       of such a report (.8); confer with
                       Lawlor F. Quinlan III regarding
                       the status of the presentation for
                       the Office of Attorney General
                       (.4); email and conference call
                       with Diocese regarding our
                       efforts to provide historical data
                       to the Jones, Day firm and
                       reviewing updates to the policies
                       and procedures (.9); lengthy
                       conference call with attorney for
                       other diocese to discuss the
                       status of our investigations (1.1);
                       report to clients (.3).
02/19/2021    LFQ      Work on presentation to be made         4.20 hrs.        250 /hr      1,050.00
                       at request of Attorney General
                       (2.6); conference call with other
                       attorneys in preparation for
                       presentation (1.6).
02/19/2021    TMC      Confer with Jones, Day team in          1.80 hrs.        250 /hr       450.00
                       order to provide them with
                       background and historical
                       information for meeting with the
                       Office of Attorney General (.8);
                       reviewing and revising our
                       presentation (.3); conferring with
                       attorneys for other diocese
                       regarding potentially relevant
                       developments (.3); conferring
                       with the attorney for another
                       diocese regarding background
                       information that might be
                       relevant to our meeting with the


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                       Office of Attorney General (.4).
02/20/2021    LFQ      Prepare for presentation to New        4.80 hrs.        250 /hr      1,200.00
                       York State Attorney General to
                       demonstrate compliance with
                       Charter by addressing issues
                       raised in complaint.
02/20/2021    TMC      Reviewing several items in             1.40 hrs.        250 /hr       350.00
                       preparation for meeting with the
                       Office of Attorney General,
                       including updated policies, plan
                       for monitoring priests, and DRB
                       recommendations (.7); reviewing
                       certain information for our
                       response to the Attorney General
                       (.7).
02/21/2021    TMC      Confer with Lawlor F. Quinlan          0.60 hrs.        250 /hr       150.00
                       III regarding his detailed
                       response to several issues raised
                       by the Office of Attorney
                       General (.3); review and revise
                       presentation to the Office of
                       Attorney General (.3).
02/22/2021    RDW      Review of file regarding               3.50 hrs.        250 /hr       875.00
                       information for meeting with
                       NYSOAG (1.5); emails
                       regarding above (.3); review of
                       draft presentation (.7);
                       preparation for and conference
                       with Terrence M. Connors and
                       Lawlor F. Quinlan III (1.0).
02/22/2021    TMC      Email correspondence from              2.00 hrs.        250 /hr       500.00
                       AAG Roque (.1); email
                       correspondence from coverage
                       counsel regarding the coverage
                       opinion with respect to the
                       Diocese and the Bishops (.2);
                       confer with Jones Day team
                       regarding the presentation to the
                       Office of Attorney General (.3);
                       forwarding our draft presentation
                       to all parties (.1); receipt and
                       review of the Remand Motion
                       filed by the Attorney General
                       (.4); email from Diocese
                       regarding chart and review of
                       same (.2); conferring with our
                       team to provide historical data to



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                       the Jones Day team for our
                       pending meeting with the OAG
                       (.7).
02/23/2021    LFQ      Telephone conferences regarding        6.60 hrs.        250 /hr      1,650.00
                       meeting with Attorney General's
                       office (.5); work on revising
                       presentation to be made to the
                       Attorney General to document
                       compliance with Charter (5.5);
                       telephone conference with
                       Chancery representatives
                       regarding same (.6).
02/23/2021    RDW      Preparation for and participate in     1.20 hrs.        250 /hr       300.00
                       call regarding status, discussions
                       with NYSOAG, and related
                       issues.
02/23/2021    TMC      Email correspondence with              2.00 hrs.        250 /hr       500.00
                       Jones Day team regarding
                       presentation (.7); email
                       correspondence with Diocese
                       regarding the meeting and
                       attendees (.3); email
                       correspondence with our Jones
                       Day team regarding the
                       presentation (.6); reviewing final
                       draft of our procedures for
                       receipt and processing of
                       complaints as well as updates;
                       confer with Lawlor F. Quinlan
                       III (.4).
02/24/2021    LFQ      Participate in conference with         6.20 hrs.        250 /hr      1,550.00
                       Chancery representatives
                       regarding resolving issues with
                       Attorney General's office (0.5);
                       review documents pertaining to
                       Attorney General's allegations in
                       complaint and in recent letter
                       (2.4); telephone conference with
                       legal team in preparation for
                       conference with Attorney
                       General's office (1.2); work on
                       presentation materials (1.9);
                       communications with attorney
                       for former Bishops (.2).
02/24/2021    TMC      Email correspondence regarding         2.40 hrs.        250 /hr       600.00
                       review of the decision of
                       Bankruptcy Court regarding



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                       retention application and email
                       correspondence with attorney
                       Donato (.3); conference with the
                       joint defense team at the Jones
                       Day firm regarding the
                       information to present to the
                       Attorney General (.6); conferring
                       with key members of the
                       Chancery and the Bishop's senior
                       staff (.4); confer with Attorney
                       Vacco who represents Bishops
                       Malone and Grosz (.3); revising
                       presentation with comments and
                       input from members of our joint
                       defense team (.8).
02/25/2021    LFQ      Work on presentation to be made          6.70 hrs.        250 /hr      1,675.00
                       to Office of Attorney General
                       and prepare for meeting (4.0);
                       participate in call regarding
                       above(1.1); participate in
                       conference with several
                       Assistant Attorneys General
                       (1.0); post-meeting conference
                       (.6).
02/25/2021    TMC      Preparation for and participation        4.50 hrs.        250 /hr      1,125.00
                       in conference call with
                       representatives of each Dioceses
                       (.8); reviewing brief on appeal
                       from Rockville Center Diocese
                       regarding issues with respect to
                       the constitutionality of the statute
                       and reviewing same (.7); report
                       to the Diocese after our meeting
                       with the Attorney General (.6).
02/26/2021    LFQ      Report on responding to request          4.80 hrs.        250 /hr      1,200.00
                       of Attorney General.
02/26/2021    TMC      Conference call with James               3.40 hrs.        250 /hr       850.00
                       Beardi, advisor to the Bishop,
                       regarding open items relative to
                       the Office of Attorney General
                       investigation and to provide him
                       historical information (.9);
                       conference with Diocese
                       executive team regarding the
                       Office of Attorney General
                       investigation and to provide
                       settlement conference debriefing



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                       (1.1); reviewing our research
                       with respect to the use of certain
                       documents by the Office of
                       Attorney General (.6); confer
                       with our Jones, Day team
                       regarding the next step in
                       connection with these
                       negotiations (.4); reviewing
                       documentation from Diocese
                       regarding further presentation to
                       the Office of Attorney General
                       (.3); reviewing draft letter to
                       Attorney General responding to
                       certain requests that were made
                       by their settlement negotiation
                       team (.3); researching
                       monitoring plans for other
                       Dioceses with respect to credibly
                       accused priests (.7).
02/27/2021    LFQ      Review materials to be sent to          4.60 hrs.        250 /hr      1,150.00
                       Attorney General (1.8); work on
                       responding to requests of
                       Attorney General (1.7);
                       communications with Chancery
                       representatives and attorneys
                       defending diocese regarding the
                       same (1.1).
02/27/2021    TMC      Reviewing research with respect         2.00 hrs.        250 /hr       500.00
                       to several defenses and sharing
                       with our defense team (.6);
                       reviewing the supporting
                       documents supplied by Don
                       Blowey for the 2020 audit (.4);
                       conferring with Lawlor F.
                       Quinlan III regarding the status
                       of response to the prayers for
                       relief (.3); review of draft letter
                       to Attorney General and provide
                       background and historical
                       information (.3); research
                       monitoring plan for other
                       Dioceses and sharing with our
                       team (.4).
02/28/2021    LFQ      Prepare for and participate in call     2.20 hrs.        250 /hr       550.00
                       with attorneys defending diocese
                       to assist in response to our
                       request from Attorney General's
                       office. (.8); work on response to


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                       same (.9); conversations with
                       Chancery representatives (.5).
02/28/2021    TMC      Receiving and reviewing                 3.30 hrs.        250 /hr       825.00
                       standards for a program of
                       supervision and monitoring
                       created by other religious
                       congregations (.7); conferring
                       with Bishop Fisher and members
                       of his advisory team regarding
                       these topics (.8); reviewing the
                       requests made by the Office of
                       Attorney General with respect to
                       management letters and audit
                       work papers (.4); reviewing
                       these requests with Lawlor F.
                       Quinlan III and forwarding to
                       Jones, Day team (.5); reviewing
                       draft letter responding to the
                       Office of Attorney General and
                       receiving input from team
                       members (.6); receiving
                       information from Diocese
                       regarding management letters
                       and on-site audits (.3).

                    Total fees for this matter                                             $34,675.00




DISBURSEMENTS

02/28/2021    JAN STORAGE/LITIGATION SUPPORT                                                 4,546.95
                       Total disbursements for this matter                                  $4,546.95

BILLING SUMMARY
               TOTAL FEES                                                                  $34,675.00

               TOTAL DISBURSEMENTS                                                          $4,546.95

               TOTAL CHARGES FOR THIS BILL                                                 $39,221.95




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                                    CONNORS LLP
                                    1000 Liberty Building
                                     Buffalo, NY 14202
                                   TAX ID NO. XX-XXXXXXX

                                         April 16, 2021

                                                             Invoice#     35398            TMC
DIOCESE OF BUFFALO                                           Our file#      002700        00046
795 Main Street                                              Billing through         02/28/2021
Buffalo, NY 14203
CHILD VICTIMS ACT

PROFESSIONAL SERVICES

02/01/2021   LFQ   Work on document production.           4.10 hrs.       250 /hr    1,025.00
02/01/2021   RDW   Work on document production,           8.00 hrs.       250 /hr    2,000.00
                   including review of specific
                   documents and privilege issues
                   (3.6); preparation for and
                   conferences regarding personnel
                   file production and privilege
                   issues (1.4); forward documents
                   to BSK for production (.3);
                   emails regarding stay issues (.5);
                   preparation of responses to
                   Blank Rome insurance inquiries
                   (1.2).
02/01/2021   CEO   Conducting privilege review of         1.40 hrs.       200 /hr      280.00
                   personnel file materials (1.1);
                   meeting with Randall D. White
                   and associate, Kelly E. Riley, to
                   discuss privileged materials (.3).
02/01/2021   KER   Continue privilege review of           3.50 hrs.       200 /hr      700.00
                   priest personnel files (3.0);
                   meetings with associate, Caitlin
                   E. O'Neil, and Randall D. White
                   regarding upcoming production
                   and potentially privileged
                   document (0.5).
02/01/2021   KKS   Review and analyze priest              2.80 hrs.       100 /hr      280.00
                   personnel files (1.6); complete
                   priest personnel file production
                   (1.2).
02/02/2021   LFQ   Work on document production.           0.50 hrs.       250 /hr      125.00
02/02/2021   RDW   Review of new CVA lawsuits             7.60 hrs.       250 /hr    1,900.00
                   (.3); emails regarding above (.5);
                   preparation for and conferences

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                       regarding document production,
                       including personnel files (1.0);
                       forward documents to BSK for
                       production (.3); preparation of
                       response to Blank Rome
                       regarding insurance information
                       (.7); work on document
                       production (4.8).
02/02/2021    TMC      Reviewing the various                  0.70 hrs.        250 /hr       175.00
                       productions made by other
                       Dioceses to the Office of
                       Attorney General and the
                       Creditor's Committee in
                       bankruptcy court to raise the
                       appropriate privileges and to be
                       consistent with other
                       productions.
02/02/2021    CEO      Conducting privilege review of         2.20 hrs.        200 /hr       440.00
                       personnel file materials.
02/02/2021    KER      Continue privilege review of           4.10 hrs.        200 /hr       820.00
                       priest personnel files (2.4); meet
                       with Randall D. White regarding
                       potentially privileged documents
                       (.8); confer with associate,
                       Caitlin E. O'Neil, regarding
                       further potentially privileged
                       documents (.9).
02/02/2021    KKS      Review and prepare next                1.60 hrs.        100 /hr       160.00
                       production of priest personnel
                       files.
02/03/2021    RDW      Review and preparation of              5.90 hrs.        250 /hr      1,475.00
                       personnel file documents
                       regarding production (2.7);
                       preparation of responses to
                       insurance information inquiries
                       of Blank Rome (2.8); emails
                       regarding stay issues and appeals
                       (.4).
02/04/2021    RDW      Preparation of responses to            7.20 hrs.        250 /hr      1,800.00
                       Blank Rome inquiries regarding
                       insurance information (2.3);
                       review and preparation of
                       documents for production (2.9);
                       participate in weekly CVA
                       counsel call (.4); respond to
                       Diocese insurance inquiry (.3);
                       conference with Lawlor F.


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                       Quinlan III regarding meeting
                       with victim (.4); review of letter
                       withdrawing sanctions motion
                       (.4); emails with co-defense
                       counsel regarding above (.5).
02/04/2021    TMC      Confer with counsel for the            0.30 hrs.        250 /hr        75.00
                       Diocese of Syracuse regarding
                       the outcome of the severance and
                       stay motions in Syracuse with
                       respect to Lipsitz, Green clients.
02/05/2021    LFQ      Work on document review.               1.10 hrs.        250 /hr       275.00
02/05/2021    RDW      Review of plaintiff's letter and       3.50 hrs.        250 /hr       875.00
                       emails with co-defense counsel
                       regarding upcoming CVA
                       calendar and status of motion for
                       sanctions (1.2); communications
                       with team regarding status of
                       document production (1.5);
                       emails with Terrence M.
                       Connors and Lawlor F. Quinlan
                       III regarding recent discovery
                       developments and issues (.8).
02/05/2021    TMC      Reviewing the status of the            1.70 hrs.        250 /hr       425.00
                       discovery issues as it pertains to
                       the CVA litigation and the OAG
                       investigation (.7); reviewing the
                       response of the Diocese to the
                       insurance carriers regarding
                       certain discovery issues (.3);
                       providing background
                       information to Bishop Fisher
                       regarding possible survivor
                       meeting (.4); receipt of
                       emergency request from the
                       Diocese regarding a media
                       inquiry with respect to priest and
                       providing factual background for
                       response (.3).
02/05/2021    KER      Continue privilege review of           1.10 hrs.        200 /hr       220.00
                       priest personnel files.
02/06/2021    RDW      Review of file and email               2.00 hrs.        250 /hr       500.00
                       regarding upcoming victim's
                       meeting with Diocese (1.0); legal
                       research regarding recent
                       developments in CVA cases
                       regarding discovery (1.0).




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02/06/2021   TMC Further research on the                  0.70 hrs.      250 /hr        175.00
                   background for possible survivor
                   meeting with Bishop Fisher.
02/07/2021   RDW Preparation of response to              0.40 hrs.       250 /hr        100.00
                   insurance information inquiries
                   from Blank Rome.
02/08/2021   RDW Email from BSK regarding                7.80 hrs.       250 /hr      1,950.00
                   privilege issues and document
                   production (.5); review of file
                   and legal research regarding
                   response (2.9); communications
                   with Terrence M. Connors and
                   Lawlor F. Quinlan III regarding
                   above (.8); review of bankruptcy
                   court filings (.7); emails and
                   telephone conferences with
                   co-defense counsel regarding
                   sanctions motion, stay issues,
                   and severance motion (1.7);
                   conferences regarding priest
                   personnel files and privilege and
                   production issues (1.2).
02/08/2021   TMC Conferring with our team                0.90 hrs.       250 /hr        225.00
                   regarding the privilege issues
                   that have arisen in connection
                   with the production of
                   documents (.4); reviewing
                   extensive research on the
                   privilege issues in order to
                   advise the Bishop (.3); working
                   on possible compromise as to
                   insurance carriers (2).
02/08/2021   KER   Continue privilege review of          3.90 hrs.       200 /hr        780.00
                   priest personnel files.
02/08/2021   KKS   Review and analyze priest             1.20 hrs.       100 /hr        120.00
                   personnel files in preparation for
                   production.
02/09/2021   LFQ   Work on document review.              3.50 hrs.       250 /hr        875.00
02/09/2021   RDW Review of documents, telephone          5.50 hrs.       250 /hr      1,375.00
                   conferences and emails
                   regarding further personnel file
                   production (1.1); emails
                   regarding withdrawal of
                   sanctions motion and related
                   issues (1.7); review of file and
                   emails with BSK regarding



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                       privilege issues (2.7).
02/09/2021    TMC      Conference regarding                   1.70 hrs.        250 /hr       425.00
                       preservation of privileges in the
                       discovery process (.8); lengthy
                       office conference with Bishop
                       Fisher to provide him with
                       historical background
                       information regarding the CVA
                       cases (.9).
02/09/2021    KER      Continue privilege review of           1.80 hrs.        200 /hr       360.00
                       priest personnel files.
02/10/2021    RDW      Review of file and preparation of      4.70 hrs.        250 /hr      1,175.00
                       response to Blank Rome
                       inquiries regarding insurance
                       information (1.7); telephone
                       conference and emails with
                       co-defense counsel regarding
                       stay issues (1.5); work on
                       document production (1.5).
02/10/2021    KER      Continue privilege review of           2.40 hrs.        200 /hr       480.00
                       priest personnel files (2.0);
                       telephone conference with
                       Lawlor F. Quinlan III (.4).
02/11/2021    RDW      Participate in weekly CVA              3.40 hrs.        250 /hr       850.00
                       counsel call (.4); emails and
                       telephone conferences with
                       co-defense counsel regarding
                       stay issues and appeals (.8);
                       preparation for and conference
                       with team regarding document
                       production, including personnel
                       files and privilege issues (2.2).
02/11/2021    KER      Continue privilege review of           1.90 hrs.        200 /hr       380.00
                       priest personnel files (.4);
                       preparation for and meet with
                       Randall D. White regarding
                       potentially privileged documents
                       (1.5).
02/12/2021    LFQ      Work on document review.               0.80 hrs.        250 /hr        200.00
02/12/2021    RDW      Emails with co-defense counsel         4.00 hrs.        250 /hr      1,000.00
                       regarding appellate and stay
                       issues (1.5); preparation for and
                       telephone conferences with
                       Blank Rome regarding insurance
                       issues and status (.8); emails and
                       conferences with Lawlor F.



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                       Quinlan III and associate, Kelly
                       E. Riley regarding personnel file
                       production issues (1.3);
                       telephone conference regarding
                       CVA lawsuit (.4).
02/12/2021    KER      Continue privilege review of           2.90 hrs.        200 /hr       580.00
                       priest personnel files (2.6);
                       telephone conference with
                       Randall D. White regarding
                       potentially privileged documents
                       (.3).
02/12/2021    KKS      Review and analyze priest              1.10 hrs.        100 /hr       110.00
                       personnel files in preparation for
                       production.
02/13/2021    RDW      Review of documents and                1.30 hrs.        250 /hr       325.00
                       relevant file background
                       regarding personnel file
                       production issues (.7); emails
                       regarding above (.3); emails
                       regarding CVA action (.3).
02/13/2021    TMC      Confer with the Diocese                0.30 hrs.        250 /hr        75.00
                       regarding recent article in USA
                       Today concerning priest and his
                       interaction with Review Board
                       and CVA litigation.
02/14/2021    LFQ      Work on document production            5.00 hrs.        250 /hr      1,250.00
                       and review.
02/15/2021    RDW      Conferences and emails                 1.50 hrs.        250 /hr       375.00
                       regarding personnel file
                       documents and privilege and
                       production issues.
02/15/2021    NAR      Legal research regarding joint         1.90 hrs.        200 /hr       380.00
                       defense agreement privilege
                       issue for Randall D. White and
                       Lawlor F. Quinlan III.
02/15/2021    KER      Continue privilege review of           3.90 hrs.        200 /hr       780.00
                       priest personnel files (3.4); meet
                       with Randall D. White regarding
                       potentially privileged documents
                       (.5).
02/16/2021    LFQ      Work on document production.           4.60 hrs.        250 /hr      1,150.00
02/16/2021    RDW      Emails with BSK regarding stay         5.90 hrs.        250 /hr      1,475.00
                       and appellate issues (.8); work
                       on document production,
                       including conferences and emails




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                       with team regarding privilege
                       and production issues (4.2);
                       forward documents to BSK for
                       production (.4); review of
                       motion to compel CVA
                       insurance information (.5).
02/16/2021    TMC      Reviewing Lipsitz, Green motion       1.30 hrs.        250 /hr       325.00
                       to avoid the bankruptcy stay and
                       to litigate in State Supreme
                       Court, and discussing historical
                       perspective with team (.6);
                       confer with our team regarding
                       the issues that have arisen in
                       connection with the production
                       of documents and the assertion
                       of privileges (.7).
02/16/2021    KER      Continue privilege review of          0.60 hrs.        200 /hr       120.00
                       priest personnel files.
02/16/2021    KKS      Prepare and review the next           5.30 hrs.        100 /hr       530.00
                       production for disclosure to
                       counsel (1.5); confer with
                       litigation vendor regarding same
                       (.2); continue to prepare accused
                       priests and personnel
                       information as requested by
                       Randall D. White (3.4); update
                       production log to include today's
                       production (.2).
02/17/2021    LFQ      Conference call regarding             0.90 hrs.        250 /hr       225.00
                       request made by insurance
                       carriers for disclosure of
                       privileged documents.
02/17/2021    RDW      Telephone conference with BSK,        5.10 hrs.        250 /hr      1,275.00
                       Terrence M. Connors, and
                       Lawlor F. Quinlan III regarding
                       personnel files and privilege
                       issues (1.0); review of privilege
                       log and preparation for telephone
                       conference (2.2); review of
                       documents and conferences
                       regarding privilege and
                       production issues (.4); emails
                       forwarding personnel files to
                       BSK for production (.8); review
                       of recent CVA cases (.3); emails
                       regarding stay issues (.4).
02/17/2021    TMC      Conversation with our team            1.50 hrs.        250 /hr       375.00


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                       regarding the privilege log,
                       production to the Office of
                       Attorney General, and the
                       creditor's committee production
                       and preparation of memorandum
                       (.7); further work on insurer
                       issues and stay and severance
                       issues (.8).
02/17/2021    KER      Continue privilege review of           0.90 hrs.        200 /hr       180.00
                       priest personnel files.
02/17/2021    KKS      Review and analyze priest              1.60 hrs.        100 /hr       160.00
                       personnel files in preparation for
                       production.
02/18/2021    RDW      Participate in CVA defense             5.90 hrs.        250 /hr      1,475.00
                       counsel call (.2); telephone
                       conference with co-defense
                       counsel regarding stay and other
                       issues and proceedings in
                       bankruptcy and Syracuse
                       bankruptcy (1.0); preparation for
                       and conference with paralegal,
                       Krista K. Severino regarding
                       personnel file production (2.2);
                       review of file and follow up
                       regarding recent telephone
                       conference with BSK regarding
                       healthcare privilege issues (2.5).
02/18/2021    KKS      Prepare priest personnel board         3.70 hrs.        100 /hr       370.00
                       parish documents as requested
                       by Randall D. White (.8); review
                       and analyze various sources of
                       data sets to continue to compile
                       information as to priest
                       personnel and CVA claimants
                       (2.9).
02/19/2021    RDW      Review of file and preparation of      7.50 hrs.        250 /hr      1,875.00
                       response to BSK inquiries for
                       motion (3.2); emails with
                       co-defense counsel regarding
                       stay issues (.4); review of motion
                       papers from Syracuse
                       bankruptcy for relevance and
                       application (1.3); emails
                       regarding above (.7); review of
                       files and documentation
                       regarding privilege and
                       discovery issues (1.9).



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02/19/2021   KER   Continue privilege review of           1.10 hrs.      200 /hr        220.00
                   priest personnel files.
02/20/2021   RDW Review of relevant materials and        2.50 hrs.       250 /hr        625.00
                   preparation of detailed emails
                   regarding motion for TRO/PI as
                   to Lipsitz Greene cases.
02/20/2021   TMC Confer with BSK regarding their         1.90 hrs.       250 /hr        475.00
                   application for a temporary
                   restraining order and preliminary
                   injunction with respect to the
                   Lipstiz, Green cases (.6); email
                   correspondence and confer with
                   our team regarding above and
                   defense issues (1.3).
02/21/2021   RDW Continue emails regarding               2.00 hrs.       250 /hr        500.00
                   motion for TRO/PI as to Lipsitz
                   Greene cases.
02/21/2021   TMC Reviewing the status of the             0.50 hrs.       250 /hr        125.00
                   Lipsitz, Green's efforts to avoid
                   the bankruptcy and proceed
                   against parishes and the response
                   of BSK (.2) review Randall D.
                   White's analysis on the legal
                   issues and possible defenses(.3).
02/22/2021   RDW Review of file regarding                4.80 hrs.       250 /hr      1,200.00
                   response to victim claimant's
                   inquiry (.8); preparation for and
                   conference regarding personnel
                   file production (1.7); review of
                   file, legal research and analysis
                   of health-related privilege issues
                   (2.3).
02/22/2021   TMC Conferring with BSK regarding           0.30 hrs.       250 /hr         75.00
                   the assertion of privileges in
                   connection with the discussions
                   with the Creditor's Committee
                   and insurance carriers.
02/22/2021   KER   Continue privilege review of          0.60 hrs.       200 /hr        120.00
                   priest personnel files.
02/23/2021   RDW Review of and emails concerning         2.10 hrs.       250 /hr        525.00
                   new CVA case (.6); legal
                   research and review of file
                   regarding privilege issues (1.5).
02/23/2021   KKS   Research regarding priests with       2.20 hrs.       100 /hr        220.00
                   unsubstantiated claims per the




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                       request of Randall D. White.
02/24/2021    KER      Continue privilege review of            0.60 hrs.        200 /hr       120.00
                       priest personnel files.
02/25/2021    RDW      Participate in CVA defense              5.50 hrs.        250 /hr      1,375.00
                       counsel call (.4); preparation of
                       response to inquiry from victim
                       claimant (.4); review of file and
                       emails with co-defense counsel
                       regarding CVA action, including
                       scheduling orders (1.7); file
                       review, legal research and
                       analysis of privilege issues (2.0);
                       work on further document
                       production (1.0).
02/25/2021    KER      Continue privilege review of            0.70 hrs.        200 /hr       140.00
                       priest personnel files.
02/25/2021    KKS      Complete review of priest               1.10 hrs.        100 /hr       110.00
                       personnel board parish file
                       documents as requested by
                       Randall D. White.
02/26/2021    LFQ      Work on document production.            1.10 hrs.        250 /hr        275.00
02/26/2021    RDW      Work on document production,            7.20 hrs.        250 /hr      1,800.00
                       including privilege and
                       personnel file issues (2.8);
                       preparation of reply to inquiry
                       from claimant (.7); legal research
                       and analysis regarding various
                       privilege and discovery issues
                       (3.2); forward documents to
                       BSK for production (.5).
02/26/2021    KER      Continue privilege review of            5.20 hrs.        200 /hr      1,040.00
                       priest personnel files (4.1); meet
                       with Randall D. White regarding
                       potentially privileged documents
                       (.9); telephone conference with
                       paralegal, Krista K. Severino,
                       regarding priest files (.2).
02/26/2021    KKS      Review and analyze various              2.30 hrs.        100 /hr       230.00
                       order priest personnel files in
                       order to prepare litigation review
                       platform per the request of
                       associate, Kelly E. Riley (1.4);
                       prepare priest personnel files in
                       preparation for production (.9).
02/27/2021    RDW      Review of file regarding status         1.00 hrs.        250 /hr       250.00




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                       of personnel file production (.4);
                       legal research regarding
                       privilege issues, including
                       health-care privilege issues as to
                       personnel files (.6).
02/27/2021    KER      Continue privilege review of            2.90 hrs.        200 /hr       580.00
                       priest personnel files.
02/28/2021    RDW      Legal research regarding                2.70 hrs.        250 /hr       675.00
                       healthcare privilege issues (2.0);
                       review of recent filings regarding
                       stay issues (.7).
02/28/2021    KER      Continue privilege review of            1.10 hrs.        200 /hr       220.00
                       priest personnel files.

                    Total fees for this matter                                             $48,330.00




DISBURSEMENTS

02/28/2021    COMPUTER RESEARCH - WESTLAW                                                      671.84
02/28/2021    PHOTOCOPIES                                                                      163.20
                       Total disbursements for this matter                                    $835.04

BILLING SUMMARY
               TOTAL FEES                                                                  $48,330.00

               TOTAL DISBURSEMENTS                                                           $835.04

               TOTAL CHARGES FOR THIS BILL                                                 $49,165.04




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